  Case 4:22-cv-05502-DMR   Document 295-12   Filed 01/02/25   Page 1 of 17




                              EXHIBIT G

                                  TO
DECLARATION OF STEVEN A. MILLS IN SUPPORT OF DEFENDANTS’
    MOTION TO DISMISS THE THIRD AMENDED COMPLAINT
 Case 4:22-cv-05502-DMR     Document 295-12       Filed 01/02/25   Page 2 of 17




 1                  UNITED STATES DISTRICT COURT
 2                 NORTHERN DISTRICT OF CALIFORNIA
 3
 4   - - - - - - - - - - - - - - - - -
 5   COALITION ON HOMELESSNESS,               )
 6   et al.,                                  )
 7                    Plaintiffs,             ) CASE NO.
 8   v.                                       ) 4:22-cv-05502-DMR
 9   CITY AND COUNTY OF SAN                   )
10   FRANCISCO, et al.,                       )
11                    Defendants.             )
12   - - - - - - - - - - - - - - - - -
13
14
15             VIDEOTAPED DEPOSITION OF MOLIQUE R. FRANK
16                  WEDNESDAY, SEPTEMBER 25, 2024
17                        PAGES 1 - 125; VOLUME 1
18
19
20
21                   BEHMKE REPORTING AND VIDEO SERVICES, INC.
22                        BY:   SUZANNE I. ANDRADE, CSR NO. 10682
23                               550 CALIFORNIA STREET, SUITE 820
24                               SAN FRANCISCO, CALIFORNIA             94104
25                                                         (415) 597-5600

           BEHMKE REPORTING AND VIDEO SERVICES, INC.                              1
                         (415) 597-5600
 Case 4:22-cv-05502-DMR   Document 295-12   Filed 01/02/25   Page 3 of 17




 1
 2
 3
 4
 5
 6
 7
 8
 9
10             Videotaped deposition of MOLIQUE R. FRANK,
11   VOLUME 1, taken on behalf of Defendants, at the
12   American Civil Liberties Union of Northern California
13   39 Drumm Street, San Francisco, California, commencing
14   at 10:02 A.M., WEDNESDAY, SEPTEMBER 25, 2024, before
15   Suzanne I. Andrade, Certified Shorthand Reporter No.
16   10682, pursuant to Notice.
17
18
19
20
21
22
23
24
25

           BEHMKE REPORTING AND VIDEO SERVICES, INC.                        2
                         (415) 597-5600
 Case 4:22-cv-05502-DMR    Document 295-12    Filed 01/02/25   Page 4 of 17




 1   APPEARANCES OF COUNSEL:
 2   FOR PLAINTIFFS:
 3         AMERICAN CIVIL LIBERTIES UNION FOUNDATION NORTHERN
 4         CALIFORNIA
 5         BY:   LARISSA GRIJALVA, ATTORNEY AT LAW
 6               WILLIAM S. FREEMAN, ATTORNEY AT LAW
 7         39 Drumm Street
 8         San Francisco, California         94111
 9         Telephone:     (415) 293-6393
10         Email:   lgrijalva@aclunc.org
11                  wfreeman@aclunc.org
12
13   FOR DEFENDANTS:
14         CITY AND COUNTY OF SAN FRANCISCO
15         OFFICE OF THE CITY ATTORNEY
16         BY:   KAITLYN M. MURPHY, DEPUTY CITY ATTORNEY
17         City Hall, Room 234
18         1 Dr. Carlton B. Goodlett Place
19         San Francisco, California         94102
20         Telephone:     (415) 554-6762
21         Email:   kaitlyn.murphy@sfcityatty.org
22
23
24
25

           BEHMKE REPORTING AND VIDEO SERVICES, INC.                          3
                         (415) 597-5600
 Case 4:22-cv-05502-DMR    Document 295-12    Filed 01/02/25   Page 5 of 17




 1   APPEARANCES OF COUNSEL - CONTINUED:
 2   FOR DEFENDANTS:
 3         CITY AND COUNTY OF SAN FRANCISCO
 4         OFFICE OF THE CITY ATTORNEY
 5         BY:   STEVEN MILLS, DEPUTY CITY ATTORNEY
 6         1390 Market Street, Sixth Floor
 7         San Francisco, California         94102
 8         Telephone:     (415) 355-3304
 9         Email:    steven.mills@sfcityatty.org
10
11   ALSO PRESENT:
12         KYLE FRIEND, VIDEOGRAPHER
13
14
15
16
17
18
19
20
21
22
23
24
25

           BEHMKE REPORTING AND VIDEO SERVICES, INC.                          4
                         (415) 597-5600
 Case 4:22-cv-05502-DMR    Document 295-12   Filed 01/02/25   Page 6 of 17




 1       A.     Yeah.
 2       Q.     Do you think you lived with her between 2018
 3   and today?
 4       A.     Yeah.
 5       Q.     Do you remember when?
 6       A.     No.
 7       Q.     Okay.   Why did you stop living with your mom
 8   between 2018 and today?
 9       A.     I just need my own space.
10       Q.     Okay.   And why did you stop living with your
11   grandma?
12       A.     Same.
13       Q.     Any other reasons besides wanting your own
14   space that you stopped living with your mom --
15       A.     No.
16       Q.     -- between 2018 and today?
17       A.     No.
18       Q.     Do you currently think of yourself as a person
19   who's homeless?
20       A.     Yes.
21       Q.     Okay.   And what does that mean to you?
22       A.     Not having a permanent residence.
23       Q.     I think you said -- was it that you've been
24   living at 1015 Geary since 2021?
25       A.     Mm-hmm.

              BEHMKE REPORTING AND VIDEO SERVICES, INC.                  53
                            (415) 597-5600
 Case 4:22-cv-05502-DMR     Document 295-12   Filed 01/02/25   Page 7 of 17




 1       Q.     Is that a yes?
 2       A.     Yes.
 3       Q.     So you've been living at 1015 Geary for about
 4   three years --
 5       A.     Mm-hmm.
 6       Q.     -- is that right?
 7              Is that a yes?
 8       A.     Yes.
 9       Q.     If you've been housed in the same place for the
10   past three years, why do you still consider yourself
11   homeless?
12       A.     I know it's not permanent.
13       Q.     Okay.    But you don't -- do you know whether
14   you'll have to leave 1015 Geary?
15       A.     I don't know.
16       Q.     Has anybody ever told you that you'll have to
17   leave 1015 Geary?
18       A.     No.
19       Q.     Do you have any understanding of whether there
20   are any, like, qualifications to live in 1015 Geary?
21       A.     No.
22       Q.     Do you know if you have to pay any money to
23   live at 1015 Geary?
24       A.     No.
25       Q.     Sorry.    I should ask a better question.

              BEHMKE REPORTING AND VIDEO SERVICES, INC.                   54
                            (415) 597-5600
 Case 4:22-cv-05502-DMR    Document 295-12   Filed 01/02/25   Page 8 of 17




 1              Is that a yes?
 2       A.     Yes.
 3       Q.     Can you describe for me, like, what -- what the
 4   size of it, what's in it?
 5       A.     It's kind of small, but it has a bathroom, a
 6   TV, some dresser drawers.     That's it.
 7       Q.     Does it have a kitchen?      Is there a communal
 8   kitchen?
 9       A.     No.
10       Q.     If you are -- if you want to use fentanyl
11   currently, do you do it inside the hotel, or would you
12   go outside?
13       A.     Have to go outside.
14       MS. GRIJALVA:    Objection; relevance.
15   BY MS. MURPHY:
16       Q.     Do you currently store any of your stuff
17   outside of 1015 Geary?
18       A.     No.
19       Q.     Okay.   So all of your stuff is inside 1015
20   Geary?
21       A.     Yes.
22       Q.     Since you moved in in 2021 to today, have you
23   ever stored any of your stuff outside 1015 Geary?
24       A.     No.
25       Q.     Do you have any plans to store your stuff

              BEHMKE REPORTING AND VIDEO SERVICES, INC.                  56
                            (415) 597-5600
 Case 4:22-cv-05502-DMR   Document 295-12   Filed 01/02/25   Page 9 of 17




 1   outside 1015 Geary in the future?
 2       A.     I hope not.
 3       Q.     Do you know what a Navigation Center is?
 4       A.     Yes.
 5       Q.     Have you ever spent a night in a Navigation
 6   Center?
 7       A.     Yes.
 8       Q.     Between 2018 and today, did you ever spend the
 9   night in a Navigation Center?
10       A.     No.
11       Q.     When's the last time you remember being in a --
12   is it sometimes called a Nav Center?
13       A.     Yes.
14       Q.     When's the last time you remember being in a
15   Nav Center?
16       A.     I think it was 2016 maybe.
17       Q.     Do you remember, like, how many nights you were
18   there?
19       A.     No.
20       Q.     Do you have a best estimate?
21       A.     No.
22       Q.     Do you think it would have been less than 30?
23       A.     No.
24       Q.     So you were in a Navigation Center for more
25   than 30 days --

              BEHMKE REPORTING AND VIDEO SERVICES, INC.                 57
                            (415) 597-5600
 Case 4:22-cv-05502-DMR    Document 295-12    Filed 01/02/25   Page 10 of 17




 1       A.     What do you mean, "previously"?         I don't
 2   understand.
 3       Q.     What's your best estimate of the number of
 4   phone numbers you've had between 2018 and today?
 5       A.     I can't remember.    A lot.
 6       Q.     Is it, like, more than ten?
 7       A.     No.
 8       Q.     Okay.    So somewhere between one and ten phone
 9   numbers --
10       A.     Yeah.
11       Q.     -- you've had?
12              Okay.    Is -- your current phone number is
13   (415) 789-3625?
14       A.     No.
15       Q.     Okay.    What's your current phone number?
16       A.     (628) 415 -- I mean (628) 789-3014.
17              (Reporter clarification.)
18              Sorry.    (628) 789-3014.
19       Q.     Got it.
20              Sometimes I know people change a phone, but
21   they keep the same phone number.
22              What's your best estimate of the number of
23   phone numbers you've had between 2018 and today?
24       A.     I can't guess.
25       Q.     Okay.    For the most part, when you change

              BEHMKE REPORTING AND VIDEO SERVICES, INC.                    62
                            (415) 597-5600
 Case 4:22-cv-05502-DMR     Document 295-12   Filed 01/02/25   Page 11 of 17




 1   phones, do you get a new number or do you keep it?
 2       A.     Keep the -- get a new number.
 3       Q.     Okay.   So if the number of cell phones you've
 4   had is somewhere between one and ten, is it fair to say
 5   the number of phone numbers is probably the same,
 6   somewhere between one and ten?
 7       A.     Possibly.
 8       Q.     But you're not sure either way?
 9       A.     No.
10       Q.     Okay.   How long have you had your current phone
11   number?
12       A.     I'm not sure.     I don't know.
13       Q.     Would you say it's more than a year?
14       A.     No.
15       Q.     Would you say it's, like, more than a month?
16       A.     Yes.
17       Q.     Do you think you had it at the beginning of
18   2014?
19       A.     No, I didn't have it 2014.
20       Q.     Okay.   So sometime between January of this year
21   and August of this year, you got this phone, right?
22       A.     Yeah.
23       Q.     Okay.   Do you know what kind of phone it is?
24       A.     Um...
25       Q.     Do you know, is it like an Apple, an Android

              BEHMKE REPORTING AND VIDEO SERVICES, INC.                    63
                            (415) 597-5600
 Case 4:22-cv-05502-DMR    Document 295-12   Filed 01/02/25   Page 12 of 17




 1   phone?
 2       A.     Android.
 3       Q.     Is it, like, one of the smart phones with,
 4   like, the big screen?
 5       A.     Yes.
 6       Q.     Does it take pictures?
 7       A.     Yes.
 8       Q.     Does it have, like, access to the Internet?
 9       A.     Yes.
10       Q.     Okay.   Do you remember how you got the phone?
11       A.     No.
12       Q.     Okay.   Do you remember, like, if you bought it
13   or if it was a gift?     Or, like, sometimes people have
14   said they've gotten, like, phones from the government.
15       A.     I can't remember.
16       Q.     Okay.   Why did you get a new phone sometime
17   this year?
18       A.     The old number got shut off for some reason.
19       Q.     Okay.   Do you have a best estimate of, like,
20   the gap between when the last phone got cut off and when
21   you got the new one?
22       A.     No.
23       Q.     Would you say it was, like, more than a month?
24       A.     I can't remember.
25       Q.     Okay.   I want to ask a question about kind of

              BEHMKE REPORTING AND VIDEO SERVICES, INC.                   64
                            (415) 597-5600
 Case 4:22-cv-05502-DMR     Document 295-12   Filed 01/02/25   Page 13 of 17




 1   an extreme weather condition by taking your -- your
 2   stuff?
 3       A.     No.
 4       Q.     Okay.   This is a dumb question, but I've got to
 5   ask it:    Do you intend to be homeless at any point in
 6   the future?
 7       A.     No.
 8       Q.     And what's your best estimate of the number of
 9   times you feel like the City wrongfully threw out your
10   property as opposed to you seeing them throw out
11   somebody else's stuff?
12       A.     I can't remember.
13       Q.     Okay.   Do you think it was more than a
14   thousand?
15       A.     No.
16       Q.     Do you think it was more than a hundred?
17       A.     No.
18       Q.     Do you think it was more than 10?
19       A.     Yes.
20       Q.     Do you think it was more than 50?
21       A.     I...
22              (Reporter clarification.)
23              No.
24       Q.     More than 20?
25       A.     Not sure.

              BEHMKE REPORTING AND VIDEO SERVICES, INC.                  112
                            (415) 597-5600
 Case 4:22-cv-05502-DMR    Document 295-12     Filed 01/02/25   Page 14 of 17




 1             WEDNESDAY, SEPTEMBER 25, 2024; 1:38 P.M.
 2                           P.M. PROCEEDINGS
 3       THE VIDEO OPERATOR:       This marks the beginning of
 4   Media No. 3.   We are back on the record.           The time is
 5   1:38 p.m.
 6       MS. MURPHY:      I think after the last session, we
 7   agreed to take a break until 1:00 p.m.           We waited until
 8   1:38.   Mr. Frank hasn't made it back.          And so the
 9   parties have agreed to end the deposition for today but
10   to hold it open to finish on a second day.
11             Is that Plaintiffs' understanding as well?
12       MR. FREEMAN:     That's our understanding as well.
13             And just so the record is clear, we do not know
14   where Mr. Frank is right now.         Ms. Grijalva and I have
15   both searched for him, and we have not been successful.
16       MS. MURPHY:      Okay.   Agree to go off?
17       MR. FREEMAN:     Yes.
18       THE VIDEO OPERATOR:       Okay.     This concludes the
19   deposition of Molique Frank.       The number of media files
20   used was three.      The original media will be retained at
21   Behmke Reporting and Video Services, Inc., 550
22   California Street, Suite 820, San Francisco, California.
23             Going off the record.         The time is 1:39 p.m.
24
25

             BEHMKE REPORTING AND VIDEO SERVICES, INC.                    123
                           (415) 597-5600
 Case 4:22-cv-05502-DMR   Document 295-12   Filed 01/02/25   Page 15 of 17




 1            (At 1:39 p.m. the deposition proceedings
 2             adjourned.)
 3
 4
 5                _____________________________
 6                        MOLIQUE R. FRANK
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

           BEHMKE REPORTING AND VIDEO SERVICES, INC.                   124
                         (415) 597-5600
 Case 4:22-cv-05502-DMR   Document 295-12   Filed 01/02/25   Page 16 of 17




                           EXHIBIT G

                                  TO
DECLARATION OF STEVEN A. MILLS IN SUPPORT OF DEFENDANTS’
                  MOTION TO DISMISS
 Case 4:22-cv-05502-DMR   Document 295-12   Filed 01/02/25   Page 17 of 17




 1   STATE OF CALIFORNIA         )
 2                               ) ss.
 3   COUNTY OF SAN FRANCISCO     )
 4               I hereby certify that the witness in the
 5   foregoing deposition, MOLIQUE R. FRANK, was by me duly
 6   sworn to testify to the truth, the whole truth and
 7   nothing but the truth, in the within-entitled cause;
 8   that said deposition was taken at the time and place
 9   herein named; and that the deposition is a true record
10   of the witness's testimony as reported by me, a duly
11   certified shorthand reporter and a disinterested person,
12   and was thereafter transcribed into typewriting by
13   computer.
14               I further certify that I am not interested in
15   the outcome of the said action, nor connected with nor
16   related to any of the parties in said action, nor to
17   their respective counsel.
18               IN WITNESS WHEREOF, I have hereunto set my
19   hand this 7th day of October, 2024.
20   Reading and Signing was:
21   ___ requested ___ waived _x_ not requested
22
23
24
25                 SUZANNE I. ANDRADE, CSR NO. 10682

           BEHMKE REPORTING AND VIDEO SERVICES, INC.                   125
                         (415) 597-5600
